                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 1 of 29




                                              IN THE UNITED STATES DISTRICT COURT
                                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                           RYAN POWNALL                                  CIVIL COMPLAINT
                           c/o The Beasley Firm, LLC
                           1125 Walnut Street                            No.
                           Philadelphia, PA 19107
                                                             Plaintiff

                                      v.                                 JURY TRIAL DEMANDED

                           LAWRENCE S. KRASNER                           PLAINTIFF’S COMPLAINT FOR
                           in his individual capacity                    MALICIOUS PROSECUTION,
                           District Attorney of Philadelphia             DEPRIVATION OF DUE PROCESS,
                           Three South Penn Square                       AND CIVIL RIGHTS VIOLATIONS
                           Philadelphia, PA 19107                        PURSUANT TO 42 U.S.C. § 1983

                                      and

                           TRACY TRIPP
                           in her individual capacity
                           District Attorney of Philadelphia
                           Three South Penn Square
                           Philadelphia, PA 19107

                                     and

                           THE CITY OF PHILADELPHIA
                           C/O City Solicitors’ Office                         :
                           One Parkway                                         :
                           1515 Arch Street                                    :
                           15th Floor
                           Philadelphia, Pa 19102-1595

                                                         Defendants

                           I.   INTRODUCTION

                                1.         “Decency, security, and liberty alike demand that government officials

                          shall be subjected to the same rules of conduct that are commands to the citizen. In a

                          government of laws, existence of the government will be imperiled if it fails to observe

                          the law scrupulously. Our government is the potent, the omnipresent teacher. For good

THE BEASLEY FIRM, LLC
  1125 WALNUT STREET                 ____________________________________________
 PHILADELPHIA, PA 19107
       215.592.1000
                                                        POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)                                         COMPLAINT
 WWW.BEASLEYFIRM.COM
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 2 of 29




                          or for ill, it teaches the whole people by its example. Crime is contagious. If the

                          government becomes a lawbreaker, it breeds contempt for law; it invites every man to

                          become a law unto himself; it invites anarchy. To declare that in the administration of

                          the criminal law the end justifies the means * * * would bring terrible retribution.

                          Against that pernicious doctrine this court should resolutely set its face.” Justice Louis

                          D. Brandeis dissent Olmstead v. United States, 227 U.S. 438, 485, 48 S.Ct. 564, 575, 72

                          L.E.d. 944 (1928).

                                 2.      This quote, from Justice Louis D. Brandeis in his dissent, properly forecast

                          the damage caused by constitutional and common law torts as committed by these

                          Defendants against Ryan Pownall, (hereinafter “Pownall” or “Plaintiff”) as well as

                          speaking to the pattern and practice of this District Attorney’s Office that incorporates

                          the intentional manipulation of facts, lack of candor to the tribunal, and disregard of the

                          law, maliciously done to achieve its self-serving and illegal gains.

                                 3.      As described in this Complaint, these Defendants, as warned by Justice

                          Brandeis, became the lawbreaker in their illegal prosecution of Pownall. In dismissing

                          the charges against Pownall because of these Defendants’ prosecutorial misconduct,

                          Judge Barbara McDermott, in her 17 October 2022 Statement of Findings of Fact and

                          Conclusions of Law (Exhibit “A”), wrote the following (emphasis added):

                               In its Motion to bypass the preliminary hearing, the Commonwealth
                               demonstrated a lack of candor to the Court by misstating the law and
                               providing Judge Coleman with incorrect caselaw. The case the
                               Commonwealth cited for the proposition that a Grand Jury presentment is a
                               constitutionally permissible and reasonable alternative to a preliminary
                               hearing, Commonwealth v. Bestwick, 414 A.2d 1373 (Pa. 1980), expressly
                               stated in footnote 2 that the bypass issue had been settled by the legislature
                               enacting 42 Pa.C.S. § 4551(e), which expressly states that a defendant shall

                                                                    2
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                      ____________________________________________
       215.592.1000                                    POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 3 of 29




                               be entitled to a preliminary hearing following a presentment. Section
                               4551(e) did not apply in Bestwick because it was not enacted until four years
                               after the defendant was convicted, but it did apply to cases arising after its
                               enactment.

                               The Commonwealth was also disingenuous with the Court when it asserted
                               that it had good cause to bypass the preliminary hearing under Pa.R.Crim.P.
                               565(A) because of the complexity of the case, the large number of witnesses
                               the Commonwealth would have to call, the expense, and the delay caused by
                               a preliminary hearing
                                                                    ....

                               The Commonwealth’s Affidavit of Probable Cause in this case relied
                               exclusively upon the presentment. It is also unclear if Judge Coleman was
                               aware of the justification defense when he accepted the presentment and
                               dismissed the First-Degree Murder charge as there is nothing showing that
                               Judge Coleman was ever informed about Section 508. The acceptance of a
                               presentment by a supervising judge does not satisfy the need for a
                               preliminary hearing. If a preliminary hearing had been held, the Defendant
                               would have raised the justification defense and a neutral and detached
                               magistrate could then determine whether probable cause existed in light of
                               the justification defense. As a preliminary hearing was not held in this
                               case, the Defendant’s due process rights were violated and the Defendant
                               suffered prejudice.

                                4.      Judge McDermott was not alone in finding significant fault in the manner

                          that these defendants illegally prosecuted Ryan Pownall. In rejecting the Defendants’

                          flawed appeals and illegal prosecution that inevitably led to the dismissal of the

                          unconstitutional   charges    against   Ryan     Pownall,   Justice   Dougherty   of   this

                          Commonwealth’s Supreme Court wrote a special concurrence in the underlying

                          litigation to amplify these Defendants’ ethical and constitutional violations, including

                          how these Defendants intentionally and illegally manipulated a grand jury to use the

                          unfortunate circumstances surrounding the death of David Jones as a means to

                          unconstitutionally prosecute a peace officer, Ryan Pownall:

                               “… [w]e must not lose sight of the fact that “[o]ur communities rely on

                                                                   3
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                     ____________________________________________
       215.592.1000                                    POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                               COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 4 of 29




                               locally elected prosecutors . . . to ensure that their criminal legal system
                               treats everyone fairly and equally, and follows the dictates of the
                               Constitution.” Amicus Current and Former Elected Prosecutors’ Brief at 22.
                               This includes police officers charged with a crime. Yet, here, I cannot say
                               the DAO has treated Pownall fairly and equally. At least three aspects of
                               the DAO’s prosecution give me serious pause: (1) its failure to provide the
                               investigating grand jury with all relevant legal definitions; (2) its
                               successful attempt to deny Pownall a preliminary hearing; and (3) its
                               relentless but unsuccessful attempt to change the peace officer justification
                               law prior to Pownall’s trial.

                          See Justice Dougherty Special Concurrence Exhibit “B” at pp. 2-3. (emphasis added).

                                 5.      The Defendants’ malicious intent was revealed during the appeal of the

                          criminal prosecution:

                               “Now, for the first time before this Court, the DAO finally admits its true
                               intent in all this was simply to use Pownall’s case as a vehicle to force
                               judicial determination on ‘whether Section 508(a)(1) is facially
                               unconstitutional.’ DAO’s Reply Brief at 1; see id.at 6 (asserting ‘Section
                               508’s applicability to [Pownall] is not the subject of this appeal”). What’s
                               more, despite having assured the trial court it was not trying ‘to bar
                               [Pownall] from a defense[.]’ N.T. 11/25/2019 at 8, the DAO now boldly
                               asserts it would be appropriate for this Court to rewrite the law and
                               retroactively apply it to Pownall’s case because he supposedly ‘had fair
                               notice of his inability to rely on this unconstitutional defense[.]’ DAO’s Brief
                               at 10.”

                          See Exhibit “B” at p. 18.

                               6.        Justice Dougherty continued:

                               “[W]e have explained a prosecutor has a responsibility to “seek justice
                               within the bounds of the law, not merely to convict.” Commonwealth v.
                               Clancy, 192 A.3d 44, 52 (Pa. 2018) (internal quotations and citation
                               omitted). This is because a prosecutor acts as “a minister of justice and not
                               simply that of an advocate.” Pa.R.P.C. 3.8, Comment; see, e.g.,
                               Commonwealth v. Briggs, 12 A.3d 291, 331 (Pa. 2011) (a prosecutor, “unlike
                               a private attorney, must exercise independent judgment in prosecuting a
                               case and has the responsibility of a minister of justice and not simply that of
                               an advocate”) (internal quotations and citation omitted). As a minister of
                               justice, a prosecutor shoulders a unique responsibility that “carries with it
                               specific obligations to see that the defendant is accorded [J-76-2021] [MO:

                                                                   4
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                      ____________________________________________
       215.592.1000                                   POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                               COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 5 of 29




                               Dougherty, J.] – 19 procedural justice and that guilt is decided upon the
                               basis of sufficient evidence.” Pa.R.P.C. 3.8, Comment. Little that has
                               happened in this case up to this point reflects procedural justice. On the
                               contrary, the DAO’s prosecution of Pownall appears to be “driven by a
                               win-at-all-cost office culture” that treats police officers differently than
                               other criminal defendants. DAO CONVICTION INTEGRITY UNIT
                               REPORT, OVERTURNING CONVICTIONS — AND AN ERA 2 (June 15,
                               2021), available at tinyurl.com/CIU report (last visited July 19, 2022). This
                               is the antithesis of what the law expects of a prosecutor.

                          Id. at pp. 18-19.

                                 7.      These Defendants’ intentional plan to withhold from the investigating

                          grand jury the relevant and applicable legal definitions of murder as well as legal

                          instructions on 18 Pa.C.S. § 508(a) (Peace Officer’s Use Of Force In Making Arrest), was

                          neither negligent nor inadvertent. These Defendants knew that Section 508 provides

                          legal justification for deadly force to a peace officer in making an arrest, yet, in plain

                          violation of Pownall’s constitutional rights, withheld it because it was fatal to the grand

                          jury presentment and criminal conviction the Defendants desired.

                                 8.      Defendant Tripp’s fabrication to the court that she did provide legal

                          definitions for murder to the grand jury – another example of a lack of candor to the

                          tribunal – was quickly identified and dismissed by Judge McDermott:

                               Former ADA Tripp’s assertion that she left the statutes for the Grand Jury
                               was indirectly contradicted by former ADA Murphy’s testimony. Former
                               ADA Murphy, the then-supervisor of the Special Investigations Unit who
                               oversaw all Grand Jury proceedings for the District Attorney’s Office, was
                               present in the Grand Jury room on August 23, 2018 when the presentment
                               was read to the grand jurors. She did not provide the statutes to the grand
                               jurors and could not remember anyone providing the Grand Jury with a
                               copy of the appropriate statutes and definitions.

                               The Commonwealth made an intentional, deliberate choice not to inform
                               the grand jurors about the justification defense under Section 508. While
                               former ADA Tripp was aware of Section 508 and its applicability to the

                                                                   5
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                      ____________________________________________
       215.592.1000                                   POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                               COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 6 of 29




                               Defendant’s case at the time of the Grand Jury proceedings, she decided
                               not to advise the Grand Jury about Section 508 after consulting with
                               other, more senior Assistant District Attorneys.

                               The Notes of Testimony also establish that former ADA Tripp neglected to
                               bring the exhibits from the Defendant’s case for the grand jurors to review
                               in making their decision. She left the room to retrieve the exhibits, but, due
                               to the swiftness of the Grand Jury’s decision to approve the presentment,
                               she did not have an opportunity to return before the presentment was
                               issued. The Grand Jury began its deliberations on Presentment No. 4 at
                               12:48 p.m. and approved Presentment No. 4 just twelve minutes later at
                               1:00 p.m. The fact that Presentment No. 4 was returned in only twelve
                               minutes supports this Court’s conclusion that the grand jurors did not have
                               enough time to review the statutes.

                          See Exhibit “A” At pp. 5-6. (emphases added).

                                9.      Justice Dougherty made plain that these Defendants violated the Rules of

                          Professional Conduct in their unconstitutional, malicious prosecution of Pownall, and

                          via their highly improper plan to poison the jury pool via press releases and a self-

                          serving documentary in which an entire sixty (60) minute episode of the “Philly D.A.”

                          series was dedicated to their prosecution of Pownall:

                               Notably, the DAO argued that although prosecutorial sources “carry
                               authority and may prejudice a venire[,]” the extensive publicity in Pownall’s
                               case was “not so reliant on” those sources. DAO’s Brief on Defense’s Motion
                               for Change of Venire, 5/21/2019 at 3-4. But it turns out the same prosecutor
                               who authored this statement, ADA Tripp, was in fact participating in a
                               documentary focused on the DAO. In 2021, during the pendency of this
                               appeal, that documentary aired on television, including an entire episode
                               dedicated solely to Pownall’s case. See Pownall’s Brief at 60-61, citing Philly
                               D.A., Episode 7, (PBS July 1, 2021). That a prosecutor would think it
                               appropriate to poison the well of public opinion by participating in a
                               documentary concerning an ongoing case is unconscionable to me. See,
                               e.g., Pa.R.P.C. 3.8(e) (“except for statements that are necessary to inform
                               the public of the nature and extent of the prosecutor’s action and that serve
                               a legitimate law enforcement purpose, [a prosecutor shall] refrain from
                               making extrajudicial comments that have a substantial likelihood of
                               heightening public condemnation of the accused”).



                                                                   6
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                     ____________________________________________
       215.592.1000                                   POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                               COMPLAINT
                             Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 7 of 29




                           See Exhibit “B” at p. 17, n. 17. (emphasis added).

                                   10.     In spite of the above, all the while they were on their PR campaign to

                           poison the jury pool against Pownall, lie to the court, mislead the grand jury, all to

                           deprive Pownall of his constitutional rights, they withheld highly relevant Brady1

                           evidence that Officer Pownall’s actions were justified. See Exhibit “C,” their expert

                           report from Gregory A. Warren, Ed.D. of American Law Enforcement Training and

                           Consulting), which concluded that Officer Pownall’s actions were justified:

                                 However, with all of the facts presented in this case at this time, it is my
                                 professional opinion that Officer Pownall acted in accordance with the [sic]
                                 statutory laws of the State of Pennsylvania and within the confines and
                                 structure of the U.S. Supreme Court’s rulings on the use of deadly force by
                                 law enforcement officers. I therefore conclude that Officer Pownall’s use of
                                 deadly force in this case was justified.

                           See Gregory Warren, Ed.D. of American Law Enforcement Training and Consulting

                           Expert Report, Exhibit “C” at p. 11.

                                   11.     Due to the Defendants’ extreme misconduct as described by Justice

                           Dougherty and Judge McDermott, the trial Court dismissed all charges against Officer

                           Pownall. See Exhibit “A.”

                                   12.     This is not the first time that these Defendants have manipulated facts,

                           intentionally mislead a court, or otherwise sought to foster their own agenda while

                           cloaked as “ministers of justice.”

                                   13.     At the same time these Defendants chose to implement their illegal and



                          1 Krasner’s office has admitted, in Commonwealth v. Wharton, 2:01-cv-060049 (E.D.Pa. Sept. 12, 2022)
                          (ECF No. 314) that they indeed have a “heightened duty” when addressing Brady materials: As Judge
                          Goldberg wrote in his opinion sanctioning these defendants, “[T]he Office asserts that this heightened duty
                          only applies to disclosures to the defense of exculpatory facts under Brady v. Maryland, 373 U.S. 83
                          (1963), and Pennsylvania Rule of Professional Conduct 3.8(d). (ECF No. 300-1 at 16.)”

                                                                           7
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                     ____________________________________________
       215.592.1000                                         POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                      COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 8 of 29




                          unconstitutional agenda, using Pownall as a pawn to further their own scheme, they

                          were, just like in Commonwealth v. Pownall, violating their duty of candor to the

                          Judges of the Eastern District of Pennsylvania in Commonwealth v. Wharton, 2:01-cv-

                          060049 (E.D.Pa. Sept. 12, 2022) (ECF No. 314). See Exhibit “D.”

                                 14.    In assigning Rule 11 sanctions against the Defendants’ office, Judge

                          Goldberg held it was the “procedures implemented by the district attorney” that

                          permitted prosecutors to mislead the court and obtain a result inconsistent with the

                          District Attorney’s mandate in the Wharton filings. Similarly, these same “procedures”

                          permeated the unconstitutional mischief occasioned on Pownall in the underlying,

                          dismissed litigation.

                                 15.    Defendant Krasner’s office’s pattern and practice of intentionally

                          misleading tribunals and whose own procedures mandate violations the Rules of

                          Professional Conduct including an intentional lack of candor to the tribunal, as seen in

                          Pownall and Wharton, resulted in Judge Goldberg concluding the Wharton Rule 11

                          Sanctions Opinion by writing the following:

                               I also find that the violation was sufficiently “egregious” and “exceptional”
                               under the circumstances of this case to warrant sanctions under Rule 11.

                                                                    ....

                               Local Civil Rule 83.6(V)(A) states the following:

                               When the misconduct or other basis for action against an attorney (other
                               than as set forth in Rule 11) or allegations of the same which, if
                               substantiated, would warrant discipline or other action against an attorney
                               admitted to practice before this court shall come to the attention of a Judge
                               of this court, whether by complaint or other-wise, and the applicable
                               procedure is not otherwise mandated by these Rules, the judge shall refer
                               the matter to the Chief Judge who shall issue an order to show cause.

                                                                   8
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                   ____________________________________________
       215.592.1000                                   POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                              COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 9 of 29




                                For the reasons set forth above, this matter will be referred to the Chief
                                Judge of this Court.

                          See Exhibit “D” at pp. 25, 28 at n. 8.

                                 16.    The damage done to Pownall and our entire system of justice is

                          irreparable; their intentional actions and omissions were maliciously designed and

                          recklessly implemented to deprive Pownall of due process and repeatedly violate his

                          constitutional rights; this was done solely for the improper purpose of advancing their

                          own agenda.

                                 17.    This extreme misconduct warrants compensatory and exemplary damages

                          to compensate Pownall and strongly punish these Defendants to ensure that neither

                          they nor those who may be empowered by their own agenda ever violate their mandate

                          and public trust.

                                 18.    As a result of the egregious and intentional violations of Pownall’s

                          constitutional rights identified in this complaint, Pownall, brings this action pursuant to

                          42 U.S.C. § 1983, and via his pendent state law claims.

                          II.    JURISDICTION, VENUE, AND NOTICE

                                 19.    This action arises under the Constitution and laws of the United States,

                          including Article III, Section 1 of the United States Constitution and is brought pursuant

                          to 42 U.S.C. §§ 1983 and 42 U.S.C. § 1988. This Court has subject matter jurisdiction

                          pursuant to 28 U.S.C. §§ 1331 and/or 1343 (a) (3). The Court has pendent jurisdiction

                          and supplemental jurisdiction over the state law claims alleged in this Complaint

                          pursuant to 28 U.S.C. § 1367. The amount in controversy vastly exceeds the amount

                          necessary to guarantee a jury trial, which is hereby demanded.

                                                                      9
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                   ____________________________________________
       215.592.1000                                    POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                   COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 10 of 29




                                 20.    The events giving rise to the claims alleged in this Complaint arose in the

                          County of Philadelphia, Pennsylvania. Venue therefore lies in the United States District

                          Court for the Eastern District of Pennsylvania, pursuant to 28 U.S.C. § 1391.

                          III.   PARTIES

                                 21.    Plaintiff, Ryan Pownall, is a resident of the Commonwealth of

                          Pennsylvania, and citizen of the United States of America.

                                 22.    At all times relevant hereto Defendant Lawrence S. Krasner (“Krasner”)

                          was a citizen of the United States and a resident of the Commonwealth of Pennsylvania.

                                 23.    At all times relevant hereto, Krasner was acting under color of state law in

                          his capacity as District Attorney employed by Defendant City of Philadelphia. Defendant

                          Krasner is sued in his individual capacity.

                                 24.    At all times relevant hereto Defendant Tracy Tripp (“Tripp”) was a citizen

                          of the United States and a resident of the Commonwealth of Pennsylvania.

                                 25.    At all times relevant hereto, Tripp was acting under color of state law in

                          her capacity as District Attorney employed by Defendant City of Philadelphia. Tripp is

                          sued in her individual capacity.

                                 26.    Defendant City of Philadelphia (The City) is a Pennsylvania municipal

                          corporation and is the legal entity responsible for itself, the Office of the District

                          Attorney for City of Philadelphia. The City is also responsible for the unidentified

                          Philadelphia prosecutors who assisted and abetted Krasner and Tripp in violating

                          Plaintiff’s Constitutional Rights as described in this complaint. This Defendant is a

                          proper entity to be sued under 42 U.S.C. § 1983.



                                                                   10
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                   ____________________________________________
       215.592.1000                                   POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                               COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 11 of 29




                                 27.    The City of Philadelphia (The City) is a local government subject to liability

                          under 42 U.S.C. § 1983 for the unconstitutional conditions created by the defendants,

                          acting directly and/or by and through their agents, servants, and employees.

                                 28.    The City is a “person” for purposes of this lawsuit and is liable for the

                          unconstitutional actions and clearly established constitutional deprivations described

                          herein.

                                 29.    All Defendants are properly sued directly under 42 U.S.C. § 1983 for their

                          own and their delegated deliberately indifferent unconstitutional decisions, false arrest,

                          failures to intervene, policies, practice, habits, customs, usages, training and derelict

                          supervision, ratification, acquiescence, and intentional failures which were moving

                          forces in the complained of constitutional and statutory violations and resulting injuries.

                                 30.    The Defendant City is also properly sued under 42 U.S.C. § 1983 for the

                          challenged delegated final decisions of those who assisted and abetted Krasner, Tripp,

                          and/or Krasner’s and Tripp’s agents (actual or ostensible), servants, and/or employees

                          described further herein, and for those of any final delegated decision makers, with

                          respect to the hereinafter challenged deliberately indifferent policies, decisions,

                          widespread habits, customs, usages and practices.

                          IV.    FACTS

                                 A.     Plaintiff’s Justification for Use of Deadly Force

                                 31.    On June 8, 2017, at approximately 6:41pm, Pownall was working in his

                          capacity as a Philadelphia police officer assigned to the 15th Police District.

                                 32.    Pownall was in full police uniform and operating marked patrol unit, RPC



                                                                    11
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                    ____________________________________________
       215.592.1000                                    POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 12 of 29




                          1519, and was transporting a father and his two minor children to the Special Victims

                          Unit at 300 E. Hunting Park Avenue.

                                 33.    While stopped at a red light at the intersection of Whitaker and Hunting

                          Park Ave., Pownall observed a red dirt bike being illegally operated by David Jones and

                          driving in a reckless manner.

                                 34.    Mr. Jones’ motorcycle stalled on the sidewalk adjacent to a club at 4210

                          Whitaker Ave, and Pownall exited his police vehicle to investigate Mr. Jones.

                                 35.    As Pownall approached, Mr. Jones twisted his torso to his right side to

                          either conceal or retrieve something from his waistband.

                                 36.    Based upon his education, training, and experience, Pownall recognized

                          Mr. Jones actions to be consistent with an individual concealing a weapon and reacted

                          accordingly by grabbing Mr. Jones to protect his safety and the safety of others in the

                          immediate area, including the father and two minor children in the rear of Plaintiff’s

                          police vehicle.

                                 37.    Pownall immediately felt the outline of a handgun concealed in Mr. Jones’

                          waistband and gave Mr. Jones multiple commands to stop resisting.

                                 38.    The adult male in the rear of Pownall’s police vehicle also shouted to Mr.

                          Jones, “don’t do it bro, don’t do it.”

                                 39.    During this struggle, Pownall began to lose physical control over Mr. Jones

                          and his concealed weapon.

                                 40.    Pownall feared for his life and pulled his issued firearm and again ordered

                          Mr. Jones to stop resisting but Mr. Jones failed to comply.



                                                                      12
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                   ____________________________________________
       215.592.1000                                     POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                   COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 13 of 29




                                 41.    In response to Mr. Jones’ actions, and in accord with Section 508, Pownall

                          attempted to fire at Mr. Jones but his weapon misfired.

                                 42.    Consistent with his education, training, and experience, Pownall cleared

                          his firearm malfunction but momentarily lost sight of Mr. Jones and his concealed

                          firearm.

                                 43.    Ultimately, Mr. Jones continued to evade, and was shot.

                                 44.    Mr. Jones was transported to Temple University Hospital and pronounced

                          shortly thereafter.

                                 45.    Police recovered a stolen firearm loaded with multiple live rounds of

                          ammunition on the ground near where the encounter between Pownall and Mr. Jones

                          occurred.

                                 B.     The Ensuing Law Enforcement Investigation

                                 46.    While the investigation proceeded, Kelley B. Hodge was elected by the

                          Philadelphia Court of Common Pleas Board of Judges to serve as Interim District

                          Attorney for the City of Philadelphia; Ms. Hodge was elected on July 20, 2017 and sworn

                          in as District Attorney on July 24, 2017.

                                 47.    Due to an apparent conflict of interest then-existing under Interim District

                          Attorney Hodge and the Philadelphia District Attorney’s Office, an investigation into

                          this police-involved shooting was transferred to the Pennsylvania Office of Attorney

                          General.

                                 48.    In November 2017, Krasner won the general election for Philadelphia

                          District Attorney.



                                                                      13
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                     ____________________________________________
       215.592.1000                                   POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                               COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 14 of 29




                                    49.       On January 2, 2018, Krasner was sworn to office as the District Attorney of

                          Philadelphia.

                                    50.       When Krasner took control of the District Attorney’s office, the Pownall

                          file was transferred back to Krasner, Tripp, and the Philadelphia District Attorney’s

                          Office.

                                    C.        The Malicious Prosecution

                                    51.       After receiving the investigative file, Krasner, Tripp, and their agents,

                          servants, and/or employees submitted the matter to the Twenty-Ninth County

                          Investigating Grand Jury, impaneled pursuant to the Investigating Grand Jury Act, 42

                          Pa.C.S.A. § 4541 et. seq., to investigate the facts and circumstances surrounding the

                          shooting and killing of David Jones on June 8, 2017.

                                    52.       Based upon the evidence obtained and considered by the Investigating

                          Grand Jury, and only after the defendants intentionally and deliberately deprived the

                          grand jury of the necessary legal definitions or instructions, the members of the 29th

                          Philadelphia County Investigating Grand Jury recommended the District Attorney

                          institute criminal proceedings against Plaintiff Ryan Pownall and charge him with the

                          following offenses:

                                          •   Criminal Homicide, 18 Pa.C.S.A. § 2501

                                          •   Possession of an Instrument of Crime, 18 Pa.C.S.A. § 907

                                          •   Recklessly Endangering Another Person, 18 Pa.C.S.A. § 2705.

                                    53.       On September 5, 2018, Defendants charged Plaintiff with the murder of

                          David Jones.


                                                                        14
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                      ____________________________________________
       215.592.1000                                         POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                    COMPLAINT
                            Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 15 of 29




                                   54.    After charging Pownall with these crimes, the Defendants disingenuously

                           asserted they had good cause to bypass the preliminary hearing under Pa.R.Crim.P.

                           565(A) because of the complexity of the case. See Exhibit “A” at p. 10.

                                   55.    In furtherance of their illegal and unconstitutional agenda, the Defendants

                           successfully moved to unseal their presentment, after criminally charging Pownall, then

                           directed the press to the investigating grand jury’s purported factual findings, knowing

                           that such a salacious (and one-sided) news story would be covered by local and national

                           news to advance Defendant Krasner’s political agenda.

                                   56.    The case was assigned to the Honorable Barbara A. McDermott who

                           scheduled it for a trial date of January 6, 2020.

                                 57.      After achieving the extensive local news coverage the Defendants desired

                          and achieved, they next fought to keep the trial in Philadelphia before a Philadelphia jury,

                          in an effort to “stack the deck” and secure a conviction against Pownall which the

                          Defendants desperately desired.

                                 58.      The only obstacle that remained in the Defendants’ path to conviction was

                          the legislatively authorized peace office justification defense.

                                 59.      To prevent any finder of fact from considering this constitutional statute

                          which negates the probable cause for arrest, “the DAO, in the District Attorney’s own

                          words, did something ‘unusual’ and ‘creative’ – it challenged Section 508 and its

                          corresponding suggested jury instruction because it believed they are ‘not fair.’” See

                          Exhibit “B” at pp. 17-18 (quoting Pownall’s Brief at 59).

                                   60.    On November 24, 2019, a little more than a month before trial was set to



                                                                      15
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                       ____________________________________________
       215.592.1000                                      POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                  COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 16 of 29




                          begin, yet “more than a year and two months after [Pownall]’s arrest … and more than

                          two years and five months after” Jones’s death, Trial Court Op., 1/2/2020 at 2 n.2 – the

                          District Attorney’s Office informed the trial court and Pownall that it intended to file a

                          motion seeking to bar use of the suggested standard jury instruction relative to the

                          peace officer justification defense. The District Attorney’s Office filed its motion in

                          limine later that day.

                                 61.    Justice Dougherty’s special concurrence “pulled back the curtain” on the

                          malicious conduct of these Defendants. Justice Dougherty explains:

                                        “[T]he DAO’s motion in limine – much like the legal instructions it
                                        gave to the investigating grand jury – presented only half the
                                        relevant picture. This type of advocacy would be worrisome coming
                                        from any litigant. See Pa.R.P.C. 3.3. (providing that all attorneys
                                        have a duty of candor toward a tribunal). That is was the
                                        prosecution’s doing is even more concerning, particularly in light of
                                        the motion’s timing.”

                          See Exhibit “B” at p. 16.

                                 62.    Anticipating Plaintiff would pursue justification under 18 Pa.C.S. § 508

                          (setting forth circumstances in which a peace officer’s use of deadly force while making

                          an arrest is not a crime) Defendant Krasner filed a pretrial motion in limine seeking to

                          preclude the trial court from using Suggested Standard Jury Instruction (Crim)

                          §9.508B, which largely tracks 18 Pa.C.S. §508.

                                 63.    The basis for this argument (recognized as an improper purpose by Justice

                          Dougherty as identified in Exhibit “B,”) – that Section 508 supposedly violated the

                          Fourth Amendment to the United States Constitution based upon their interpretation of

                          Tennessee v. Garner, 471 U.S. 1 (1985) – even though it was the law known to all



                                                                  16
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                   ____________________________________________
       215.592.1000                                   POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                               COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 17 of 29




                          Philadelphia police officers at the time of the Pownall – Jones altercation.

                                   64.    On December 18, 2019, Pownall through his counsel filed a motion to

                          quash the grand jury presentment. Rather than responding to Pownall’s motion, the

                          Defendants made an unscheduled appearance before the trial court and demanded the

                          court rule on its motion in limine.

                                   65.    In doing so, the Defendants warned they’d take an interlocutory appeal –

                          with or without the court’s permission – should the court deny its motion. See Exhibit

                          “B” at p. 16.

                                   66.    The Defendants followed through on this threat and filed an improper

                          appeal, thereby continuing their improper and malicious prosecution.

                                   67.    As described above, while criminal charges were pending and Pownall

                          awaited trial, the Defendants participated in the production of a documentary, “Philly

                          D.A.” focused on the District Attorney’s Office, which aired during the Defendants’

                          frivolous appeal.

                                   68.    The Defendants’ participation in “Philly DA” and the prejudicial

                          commentary included an entire episode devoted to Pownall’s case. These public

                          comments served no legitimate law enforcement purpose and served only to “poison the

                          well of public opinion.” See Justice Dougherty Special Concurrence, Exhibit “B” at p. 17,

                          n. 13.

                                   69.    Justice Dougherty, in his special concurrence, stated the following:

                                   “When combined with the other tactics highlighted throughout this
                                   concurrence, a compelling argument may be made that the DAO’s decision
                                   to delay Pownall’s trial further by taking an unauthorized interlocutory
                                   appeal was intended to deprive him of a fair and speedy trial.”

                                                                    17
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                    ____________________________________________
       215.592.1000                                     POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                 COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 18 of 29




                          See Exhibit “B” at pp. 16-17.

                                 70.    In spite of the Defendants’ well-known open-file discovery policy,

                          especially in homicide investigations, in this case the Defendants concealed Brady

                          evidence.

                                 71.    The Defendants possessed and failed to provide Pownall and his lawyers

                          the expert report of Gregory A. Warren, Ed.D. of American Law Enforcement Training

                          and Consulting. See Exhibit “C.”

                                 72.    The existence of this expert report was only discovered after Pownall’s

                          lawyers asked whether the Defendants had an expert and expert report.

                                 73.    Then, Warren’s expert report was only provided to Pownall and his

                          lawyers after Judge McDermott Ordered the Defendants to produce this Brady

                          evidence.

                                 74.    The Defendants concealed Expert Warren’s report because it contradicted

                          the disingenuous arguments they repeated to the tribunal and because it was fatal to the

                          required probable cause to criminally charge Pownall.

                                 75.    All of the above-described acts were done by the Defendants intentionally,

                          knowingly, willfully, wantonly, maliciously and/or recklessly in disregard for Plaintiff’s

                          federally protected rights; they were done pursuant to the preexisting and ongoing

                          deliberately indifferent official custom, practice, decision, policy, training, and

                          supervision of the Defendant City, acting under color of state law.

                                 76.    As identified in this document and attached opinions, the Defendants have

                          procedures to mislead the tribunal and others as necessary to foster their own activist

                                                                     18
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                   ____________________________________________
       215.592.1000                                       POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                  COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 19 of 29




                          agenda, which includes an intentional deprivation of the accused’s constitutional rights.

                                 77.    As a direct and proximate result of the wrongful conduct of each of the

                          Defendants, Plaintiff has been substantially injured. These injuries include, without

                          limitation, the loss of constitutional and federal rights, great pain and emotional

                          distress, and/or aggravation of pre-existing conditions, and ongoing special damages for

                          medically/psychologically related treatment caused by the unconstitutional and moving

                          forces concerted conduct of all these Defendants.

                                 78.    Plaintiff also continues to suffer ongoing emotional distress, with

                          significant PTSD type symptoms, including sadness, anxiety, stress, anger, depression,

                          frustration, sleeplessness, nightmares, and flashbacks.

                                 79.    Plaintiff is also entitled to punitive damages on all of his claims against the

                          individual Defendants personally to redress their intentional, willful, malicious, wanton,

                          reckless, and fraudulent conduct.

                          V.     CLAIMS FOR RELIEF

                                                  FIRST CLAIM FOR RELIEF
                                                         42 U.S.C. § 1983
                                False Arrest and Malicious Prosecution in violation of the Fourth and
                                                     Fourteenth Amendments
                                      (Defendants Krasner, Tripp, and the City of Philadelphia)

                                 80.    Plaintiff hereby incorporates all other paragraphs of this Complaint as if

                          fully set forth herein.

                                 81.    42 U.S.C. § 1983 provides that:

                                 Every person, who under color of any statute, ordinance, regulation,
                                 custom or usage of any state or territory or the District of Columbia
                                 subjects or causes to be subjected any citizen of the United States or other
                                 person within the jurisdiction thereof to the deprivation of any rights,

                                                                   19
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                   ____________________________________________
       215.592.1000                                    POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                               COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 20 of 29




                                 privileges or immunities secured by the constitution and law shall be liable
                                 to the party injured in an action at law, suit in equity, or other appropriate
                                 proceeding for redress . . .

                                 82.    Plaintiff in this action is a citizen of the United States and all of the

                          Defendants to this claim are persons for purposes of 42 U.S.C. § 1983.

                                 83.    All individual Defendants to this claim, at all times relevant hereto, were

                          acting under the color of state law in their capacity as prosecutors and/or law

                          enforcement officers of the City of Philadelphia and their acts or omissions were

                          conducted within the scope of their official duties or employment.

                                 84.    At the time of the complained of events, Plaintiff had the clearly

                          established constitutional right to be free from malicious prosecution without probable

                          cause under the Fourth Amendment and in violation of due process under the

                          Fourteenth Amendment.

                                 85.    Any reasonable prosecutor and/or prosecuting authority knew or should

                          have known of these rights at the time of the complained of conduct as they were clearly

                          established at that time.

                                 86.    The individual Defendants violated Mr. Pownall’s Fourth and Fourteenth

                          Amendment rights to be free from false arrest and malicious prosecution without

                          probable cause and without due process when they worked in concert to secure false

                          charges against him resulting in his unlawful confinement and prosecution.

                                 87.    The individual Defendants conspired and/or acted in concert to institute,

                          procure, and continue a criminal proceeding for the criminal charges brought without

                          probable cause against Mr. Pownall in an effort to conceal their prior violations of Mr.



                                                                   20
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                   ____________________________________________
       215.592.1000                                    POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                               COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 21 of 29




                          Pownall’s constitutional rights.

                                   88.   Defendants engaged in the conduct described herein that was willful,

                          malicious, in bad faith, and in complete and reckless disregard of Mr. Pownall’s

                          federally protected constitutional rights.

                                   89.   The intentional procurement of prosecution against Pownall in spite of the

                          lack of probable cause was malicious, disgraceful, outrageous, and shocking, in the light

                          of the circumstances.

                                   90.   Those criminal proceedings terminated in Pownall’s favor. The Honorable

                          Barbara A. McDermott dismissed the charges without any compromise by Pownall,

                          reflecting the egregious conduct of the Defendant Krasner and their unidentified

                          agents, servants, and/or employees before the grand jury which resulted in this

                          miscarriage of justice.

                                   91.   The acts or omissions of all individual Defendants were moving forces

                          behind Plaintiff’s injuries.

                                   92.   These individual Defendants acted in concert and joint action with each

                          other.

                                   93.   The acts or omissions of Defendants as described herein intentionally

                          deprived Plaintiff of his constitutional and statutory rights and caused him other

                          damages as described herein.

                                   94.   Defendants are not entitled to qualified immunity for the complained of

                          conduct.

                                   95.   The Defendants to this claim at all times relevant hereto were acting



                                                                    21
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                     ____________________________________________
       215.592.1000                                      POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                 COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 22 of 29




                          pursuant to municipal/county custom, policy, decision, ordinance, regulation,

                          widespread habit, usage, or practice in its actions pertaining to Plaintiff.

                                 96.    As a proximate result of Defendants’ unlawful conduct, Plaintiff has

                          suffered actual physical and emotional injuries, and other damages and losses as

                          described herein entitling him to compensatory and special damages, in amounts to be

                          determined at trial.

                                 97.    The Defendants, by their actions as set forth herein, intended to inflict

                          irreparable damage to the Plaintiff's future, including employment, educational and

                          social opportunities.

                                 98.    As a direct and proximate result of the Defendants' malicious and

                          outrageous conduct, as set forth herein, the Plaintiff has suffered irreparable damage to

                          his future, including future employment, educational, and social opportunities.

                                 99.    The Defendants have caused the injuries, damages and losses to the

                          Plaintiff by their outrageous conduct; and, the Plaintiff is entitled to recover against the

                          Defendants for the injuries, damages and losses set forth herein.

                                 100.   As a further result of the Defendants’ unlawful conduct, Plaintiff has

                          incurred special damages, including lost earnings, lost earning capacity, medically

                          related expenses which are continuing, and other related expenses, in amounts to be

                          established at trial.

                                 101.   Plaintiff is further entitled to attorneys’ fees and costs pursuant to 42

                          U.S.C. § 1988 and pre-judgment interest as permitted by federal law. There may also be

                          special damages for lien interests.



                                                                    22
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                   ____________________________________________
       215.592.1000                                    POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 23 of 29




                                 102.   In addition to compensatory, economic, consequential, and special

                          damages, Plaintiff is entitled to punitive damages against each of the individually named

                          Defendants under 42 U.S.C. § 1983, in that the actions of each of these individual

                          Defendants have been taken maliciously, willfully, or with a reckless or wanton

                          disregard of Plaintiff’s constitutional rights.

                                 WHEREFORE, Plaintiff demands judgment against all Defendants and seeks,

                          pursuant to 18 USC §2520, et seq., damages substantially in excess of the jurisdictional

                          limit to guarantee a jury trial, punitive damages, and such other relief as this Honorable

                          Court permits.

                                                 SECOND CLAIM FOR RELIEF
                                                         42 U.S.C. § 1983
                           Deliberately Indifferent Policies, Practices, Customs, Training, and Supervision in
                                  violation of the Fourth, Eighth, Fourteenth, and First Amendments
                                       (Defendants Krasner, Tripp, and the City of Philadelphia)

                                 103.   Plaintiff hereby incorporates all other paragraphs of this Complaint as if

                          fully set forth herein.

                                 104.   42 U.S.C. § 1983 provides that:

                                 Every person, who under color of any statute, ordinance, regulation,
                                 custom or usage of any state or territory or the District of Columbia
                                 subjects or causes to be subjected any citizen of the United States or other
                                 person within the jurisdiction thereof to the deprivation of any rights,
                                 privileges or immunities secured by the constitution and law shall be liable
                                 to the party injured in an action at law, suit in equity, or other appropriate
                                 proceeding for redress . . .

                                 105.   Plaintiff in this action is a citizen of the United States and Defendants to

                          this claim are persons for purposes of 42 U.S.C. § 1983.

                                 106.   In Monell v. New York City Dept. of Social Services, 436 U.S. 658, 56 L.



                                                                    23
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                   ____________________________________________
       215.592.1000                                     POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                 COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 24 of 29




                          Ed. 2d 611, 98 S. Ct. 2018 (1978), the United States Supreme Court held that Congress

                          intended municipalities and other local government entities to be included among those

                          persons to whom § 1983 applies. 436 U.S. at 690.

                                107.   Pownall had the following clearly established rights at the time of the

                          complained of conduct:

                                       a)     the right to be secure in his person from unreasonable
                                              seizure through excessive force, under the Fourth
                                              Amendment;

                                       b)     the right to be free from cruel and unusual punishment
                                              under the Eighth Amendment;

                                       c)     the right to be free from false arrest by police under the
                                              Fourth and Fourteenth Amendments; and

                                       d)     the right to be free from malicious prosecution under the
                                              Fourth and Fourteenth Amendments.

                                108.   The well-settled policies, procedures, customs, and/or practices created by

                          these Defendants which permitted the outrageous actions with indifference to obvious

                          and known constitutional violations include, without limitation:

                                       a)     illegally withholding Brady evidence;

                                       b)     intentionally and deliberately misleading the tribunal;

                                       c)     intentionally and deliberately depriving the grand jury
                                              and/or tribunal necessary and applicable legal instruction
                                              based upon constitutional Pennsylvania statutes and laws;

                                       d)     intentionally and deliberately offering public comment to
                                              poison potential jurors in violation of the Rules of
                                              Professional Conduct, 3.3 and 3.8;

                                       e)     policy and procedure to target peace officers as a function of
                                              furthering its own political agenda as recognized by
                                              Justice Dougherty; and

                                                                 24
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                  ____________________________________________
       215.592.1000                                   POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                              COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 25 of 29




                                        f)     to intentionally and deliberately deprive criminal defendants
                                               of due process and constitutional rights.

                                 109.   The Defendants were at all relevant times acting under the color of state

                          law.

                                 110.   These Defendants knew or should have known of these rights at the time

                          of the complained of conduct as they were clearly established at that time.

                                 111.   These Defendants are not entitled to qualified immunity for the

                          complained of conduct.

                                 112.   These Defendants established policies, procedures, customs, and/or

                          practices which permitted and encouraged the outrageous actions described in this

                          Complaint.

                                 113.   These Defendants developed and maintained policies, procedures,

                          customs, and/or practices exhibiting deliberate indifference to the constitutional rights

                          of citizens, which were moving forces behind and proximately caused the violations of

                          Plaintiff’s constitutional and federal rights as set forth herein and in the other claims,

                          resulted from a conscious or deliberate choice to follow a course of action from among

                          various available alternatives.

                                 114.   These Defendants tolerated an atmosphere of lawlessness, and have

                          developed and maintained long-standing, department-wide customs, law enforcement

                          related policies, procedures, customs, practices, and/or failed to properly train and/or

                          supervise its agents, servants, and/or employees in a manner amounting to deliberate

                          indifference to the constitutional rights of Plaintiff and of the public.



                                                                    25
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                   ____________________________________________
       215.592.1000                                    POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 26 of 29




                                 115.   The deliberately indifferent training and supervision provided by these

                          Defendants, respectively, resulted from a conscious or deliberate choice to follow a

                          course of action from among various alternatives available to Defendant City of

                          Philadelphia and were moving forces in the constitutional injuries sustained by Plaintiff.

                                 116.   As a direct and proximate result of these well-settled policies, procedures,

                          customs, and/or practices identified above, these Defendants intentionally and

                          consciously deprived Plaintiff of his constitutional rights as described herein.

                                 117.   The acts or omissions of these Defendants, as described herein,

                          intentionally deprived Plaintiff of his constitutional and statutory rights and caused him

                          other damages.

                                 118.   As a direct result of these Defendants’ unlawful conduct, Plaintiff has

                          suffered actual physical and emotional injuries, and other damages and losses as

                          described herein entitling him to compensatory and special damages, in amounts to be

                          determined at trial.

                                 119.   As a further result of the Defendants’ unlawful conduct, Plaintiff has

                          incurred special damages, including medically related expenses and may continue to

                          incur further medically or other special damages related expenses, in amounts to be

                          established at trial.

                                 120.   Upon information and belief, Plaintiff may suffer lost future earnings and

                          impaired earning capacities from the not yet fully ascertained sequelae of his closed

                          head injuries, in amounts to be ascertained in trial.

                                 121.   Plaintiff is further entitled to attorneys’ fees and costs pursuant to 42



                                                                   26
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                   ____________________________________________
       215.592.1000                                    POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                               COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 27 of 29




                          U.S.C. §1988 and pre-judgment interest permitted by federal law. There may also be

                          special damages for lien interests.

                                 WHEREFORE, Plaintiff demands judgment against all Defendants and seeks,

                          pursuant to 18 USC §2520, et seq., damages substantially in excess of the jurisdictional

                          limit to guarantee a jury trial, punitive damages, and such other relief as this Honorable

                          Court permits.

                                                  THIRD CLAIM FOR RELIEF
                                                 Malicious and Outrageous Conduct
                                                  (Defendants Krasner and Tripp)

                                 122.   The Plaintiff hereby incorporates by reference the preceding paragraphs as

                          though fully set forth herein.

                                 123.   The Defendants' actions as set forth herein, were malicious, outrageous,

                          intolerable, and so extreme as to exceed all bounds of reasonableness and

                          professionalism in civilized communities and societies.

                                 124.   The Defendant’s malicious and outrageous aforementioned acts and

                          violations were a wanton and willful disregard for the rights and feelings of the Plaintiff.

                                 125.   The only purpose of the Defendants’ malicious and outrageous

                          aforementioned acts was to permanently harm the Plaintiff and violate his rights.

                                 126.   The Defendants, by their actions as identified in this complaint and the

                          attached opinions, intended to inflict irreparable damage to the Plaintiff's person,

                          future, reputation, name, honor, integrity, and respect within his community and any

                          community he sought to belong in the future.

                                 127.   As a direct and proximate result of the Defendants’ malicious and



                                                                   27
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                   ____________________________________________
       215.592.1000                                    POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                COMPLAINT
                           Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 28 of 29




                          outrageous conduct, as set forth herein, the Plaintiff was forced to suffer, and will

                          continue to suffer, all of the losses described herein.

                                 WHEREFORE, Plaintiff demands judgment against all Defendants and seeks,

                          pursuant to 18 USC §2520, et seq., damages substantially in excess of the jurisdictional

                          limit to guarantee a jury trial, punitive damages, and such other relief as this Honorable

                          Court permits.

                          VI.    PRAYER FOR RELIEF

                                 128.   Plaintiff prays that this Court enter judgment for the Plaintiff and against

                          each of the Defendants and grant:

                                        a)     compensatory     damages     for     pain   and     suffering,
                                               disfigurement, emotional distress, fear, humiliation, and loss
                                               of enjoyment of life on all claims allowed by law in an
                                               amount to be determined at trial;

                                        b)     economic losses on all claims allowed by law;

                                        c)     special damages in an amount to be determined at trial;

                                        d)     punitive damages on all claims allowed by law against
                                               individual Defendants and in an amount to be determined at
                                               trial;

                                        e)     attorneys’ fees and the costs associated with this action
                                               under 42 U.S.C. § 1988;

                                        f)     pre- and post-judgment interest; and

                                        g)     any further relief that this court deems just and proper.

                          VII.   NOTICE OF PRESERVATION OF EVIDENCE

                                 PLAINTIFF HEREBY DEMANDS AND REQUESTS THAT DEFENDANTS TAKE

                          NECESSARY ACTION TO ENSURE THE PRESERVATION OF ALL DOCUMENTS,



                                                                    28
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
                                   ____________________________________________
       215.592.1000                                    POWNALL V. KRASNER, ET AL.
    215.592.8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                COMPLAINT
Case 2:22-cv-04191-GAM Document 1 Filed 10/19/22 Page 29 of 29
